 Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 1 of 35 Page ID #:831




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15                             UNITED STATES DISTRICT COURT
16                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
17
18   ML PRODUCTS INC.                           Case No.: 5:21-cv-01930-MEMF-KK

19   Plaintiff,                                 PLAINTIFF’S MEMORANDUM OF POINTS &
                                                AUTHORITIES IN OPPOSITION TO DEFENDANT
20   v.                                         NINESTAR TECHNOLOGY CO. LTD.’S MOTION
21                                              TO DISMISS
     NINESTAR TECHNOLOGY CO.
22   LTD.; NINESTAR CORP.; ASTER                [(Proposed) Order and Response in Opposition to
     GRAPHICS, INC.; BILLIONTREE                Request for Judicial Notice Filed Concurrently Herewith]
23   TECHNOLOGY USA, INC.;
24   MOUNTAIN PEAK. INC; V4INK                  Hon. Maame Ewusi-Mensah Frimpong
     INC.; and DOES 1 through 125,
25   inclusive,                                 Date: June 16, 2022
                                                Time: 10:00 a.m.
26   Defendants.                                Courtroom: 8B
27
28
 Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 2 of 35 Page ID #:832




1                                                       TABLE OF CONTENTS
2
3    INTRODUCTION AND OVERVIEW OF ALLEGATIONS ........................................................1
4    LEGAL STANDARD......................................................................................................................3
5    ARGUMENT ...................................................................................................................................4
6         I.         Plaintiff Alleges False Statements Plausibly Giving Rise to Its Lanham Act, FAL, and
7                    UCL Claims ...................................................................................................................4
8                    A. Plaintiff Alleges Actionable False Statements in Ninestar’s Product Review
9                         Manipulation ............................................................................................................5
10                              1. Plaintiff Alleges False Statements ...............................................................6
11                              2. The Review Manipulation Is Attributable to Ninestar.................................8
12                              3. The Complaint Satisfies Rule 9(b).............................................................13
13                   B. Plaintiff Alleges Actionable False Statements in Ninestar’s Straw-Seller
14                        Strategy ..................................................................................................................15
15        II.        ML Products Adequately Pleads Injury Proximately Caused by Ninestar ..................17
16        III.       ML Products Sufficiently Pleads Its California UCL and FAL Claims ......................19
17                   A. Competitor Standing Does Not Require Direct Reliance, Only Injury in Fact, Which
18                        ML Products Sufficiently Pleads ...........................................................................19
19                   B. ML Products States a Claim Under the UCL’s Unlawful Prong ...........................21
20                   C. ML Products States a Claim Under the UCL’s Unfair Prong ................................21
21                   D. ML Products May Seek Disgorgement and There is No Basis to “Dismiss” or
22                        “Strike” Its Claims or Allegations .........................................................................23
23        IV.        The Court Should Allow Plaintiff Leave to Amend to Cure any Deficiencies ...........24
24   CONCLUSION ..............................................................................................................................25
25
26
27
28
                                                                               -ii-
                                                                                                     Pltf.’s Mem. of P&A in Opp. to Def. Ninestar
                                                                                                            Technology Co. Ltd.’s Mtn. To Dismiss
 Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 3 of 35 Page ID #:833




1                                                  TABLE OF AUTHORITIES
                                                                                                                                      Page(s)
2
3    Cases
4
     23andMe, Inc. v. Ancestry.com DNA, LLC,
5
       356 F. Supp. 3d 889 (N.D. Cal. 2018) ...................................................................................... 13
6
     In the Matter of Certain Toner Cartridges & Components Thereof Comm'n Opinion, USITC Inv.
7
       No. 337-TA-740, 2011 WL 13352062 (Oct. 5, 2011) ............................................................... 11
8
     A White & Yellow Cab Inc. v. Uber Techs., Inc.,
9
       No. 15-CV-05163, 2017 WL 1208384 (N.D. Cal. Mar. 31, 2017)........................................... 19
10
     Allergan, Inc. v. Athena Cosmetics, Inc.,
11
       640 F.3d 1377 (9th Cir. 2011) ............................................................................................ 19, 20
12
     AlphaCard Sys. LLC v. Fery,LLC,
13
     No. 19-20110, 2020 WL 4736072 (D.N.J. Aug. 14, 2020) .............................................. 5, 7, 8, 15
14
     Andrus ex rel. Andrus v. Arkansas,
15
       197 F.3d 953 (8th Cir. 1999) .................................................................................................... 24
16
     Ariix, LLC v. NutriSearch Corp.,
17
       985 F.3d 1107 (9th Cir. 2021) .................................................................................................... 4
18
     Ashcroft v. Iqbal,
19
       556 U.S. 662 (2009) .................................................................................................................... 3
20
     Asis Internet Servs. v. Optin Global, Inc.,
21
       No. C 05-5124, 2006 WL 2792436 (N.D. Cal. Sept. 27, 2006) ............................................... 14
22
     Bell Atl. Corp. v. Twombly,
23
       550 U.S. 544 (2007) .................................................................................................................... 3
24
     BHRS Group, LLC v. Brio Water Technology, Inc.,
25
       No. 2:20-cv-07652, 2020 WL 9422352 (C.D. Cal. Dec. 14, 2020) ............................................ 8
26
     BHRS Grp., LLC v. Brio Water Tech., Inc.,
27
       553 F. Supp. 3d 793 (C.D. Cal. 2021) ........................................................................................ 8
28
                                                                            -iii-
                                                                                                 Pltf.’s Mem. of P&A in Opp. to Def. Ninestar
                                                                                                        Technology Co. Ltd.’s Mtn. To Dismiss
 Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 4 of 35 Page ID #:834




1    Bly- Magee v. California,
2      236 F.3d 1014 (9th Cir. 2001) .............................................................................................. 3, 13
3    Casper Sleep, Inc. v. Nectar Brand LLC,
4      No. 18-Civ-4459, 2020 WL 5659581 (S.D.N.Y. Sept. 23, 2020) ........................................ 9, 13
5    Cel-Tech Commc’ns, Inc. v. Los Angeles Cellular Tel. Co.,
6      20 Cal.4th 163 (1999) ......................................................................................................... 21, 22
7    Cisco Sys., Inc. v. Beccela's Etc., LLC,
8      403 F. Supp. 3d 813 (N.D. Cal. 2019) ...................................................................................... 21
9    Clayworth v. Pfizer, Inc.,
10     49 Cal. 4th 758 (2010) .............................................................................................................. 20
11   Cleary v. News Corp.,
12     30 F.3d 1255 (9th Cir.1994) ....................................................................................................... 4
13   Clorox Co. v. Reckitt Benckiser Group PLC,
14     398 F.Supp.3d 623 (N.D. Cal. 2019) ........................................................................................ 16
15   Colgan v. Leatherman Tool Grp., Inc.,
16     135 Cal. App. 4th 663, (2006) .................................................................................................. 24
17   Eclectic Properties East, LLC v. Marcus & Millichap Co.,
18     751 F.3d 990, (9th Cir. 2014) ..................................................................................................... 7
19   Farrell v. Boeing Employees Credit Union,
20     761 Fed.Appx. 682 (9th Cir. 2019) ........................................................................................... 17
21   Foman v. Davis,
22     371 U.S. 178 (1962) .................................................................................................................. 24
23   Gerritsen v. Warner Bros. Ent. Inc.,
24     112 F. Supp. 3d 1011 (C.D. Cal. 2015) .................................................................................... 17
25   Grasshopper House, LLC v. Clean & Sober Media, LLC,
26     No. 18-cv-00923, 2018 WL 6118440 (C.D. Cal. July 18, 2018)........................................ 2, 4, 9
27   Hadley v. Kellogg Sales Co.,
28     243 F.Supp.3d 1074 (N.D. Cal. 2017) ...................................................................................... 22

                                                                           -iv-
                                                                                                 Pltf.’s Mem. of P&A in Opp. to Def. Ninestar
                                                                                                        Technology Co. Ltd.’s Mtn. To Dismiss
 Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 5 of 35 Page ID #:835




1    Hinojos v. Kohl's Corp.,
2      718 F.3d 1098 (9th Cir. 2013) .................................................................................................. 21
3    In re Actimmune Mktg. Litig.,
4      No. C 08-02376, 2009 WL 3740648 (N.D. Cal. Nov. 6, 2009)................................................ 22
5    In re Century Aluminum Co. Securities Litig.,
6      729 F.3d 1104 (9th Cir. 2013) .................................................................................................... 7
7    In re Tobacco II Cases,
8      46 Cal. 4th 298, 207 P.3d 20 (2009) ................................................................................... 19, 24
9    In re Tracht Gut, LLC,
10     836 F.3d 1146 (9th Cir. 2016) .................................................................................................... 3
11   In the Matter of Certain Toner Cartridges & Components Thereof Comm'n Opinion,
12     USITC Inv. No. 337-TA-740, 2011 WL 13352062 (Oct. 5, 2011) .......................................... 11
13   In the Matter of Certain Toner Cartridges & Components Thereof Ord. 26,
14     USITC Inv. No. 337-TA-740, 2011 WL 2470590 (June 1, 2011)........................................ 2, 11
15   In the Matter of Certain Toner Cartridges, Components Thereof, & Sys. Containing Same Ord.
16     USITC Inv. No. 337-TA-1174, 2020 WL 5202646 (July 23, 2020) ........................................ 12
17   Interlink Products Int’l v. F & W Trading LLC,
18     No. 15-1340, 2016 WL 1260713 (D.N.J. Mar. 31, 2016) ................................................. passim
19   iYogi Holding Pvt. Ltd. v. Secure Remote Support, Inc.,
20     No. C-11-0592, 2011 WL 6291793 (N.D. Cal. Oct. 25, 2011) .................................................. 5
21   Johnson v. Ocwen Loan Servicing, LLC,
22     No. EDCV 17-01373, 2017 WL 10581088 (C.D. Cal. Dec. 11, 2017) .................................... 22
23   JT Legal Grp. APC v. Yagoubzadeh L. Firm LLP,
24     No. CV 21-7033, 2021 WL 6618811 (C.D. Cal. Nov. 1, 2021) ............................................... 12
25   K&N Eng’g, Inc. v. Spectre Performance,
26     No. EDCV 09-01900, 2010 WL 11468976 (C.D. Cal. Feb. 9, 2010) ...................................... 14
27   Korea Supply Co. v. Lockheed Martin Corp.,
28     29 Cal.4th 1134 (2003) ............................................................................................................. 24

                                                                           -v-
                                                                                               Pltf.’s Mem. of P&A in Opp. to Def. Ninestar
                                                                                                      Technology Co. Ltd.’s Mtn. To Dismiss
 Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 6 of 35 Page ID #:836




1    Kwikset Corp. v. Superior Ct.,
2      51 Cal. 4th 310, 246 P.3d 877 (2011) ....................................................................................... 20
3    L.A. Taxi Coop., Inc. v. Uber Techs. Inc.,
4      114 F.Supp.3d 852 (N.D. Cal. 2015) ........................................................................................ 19
5    Levitt v. Yelp! Inc.,
6      765 F.3d 1123 (9th Cir. 2014) .................................................................................................... 8
7    Lexmark International Inc., v. Static Control Components Inc.,
8      572 U.S. 118 (2014) ............................................................................................................ 17, 18
9    Lona’s Lil Eats, LLC v. DoorDash, Inc.,
10     No. 20-cv-06703, 2021 WL 151978 (N.D. Cal. Jan. 18, 2021) ................................................ 16
11   Lozano v. AT & T Wireless Services, Inc.,
12     504 F.3d 718 (9th Cir. 2007) .................................................................................................... 24
13   McGill v. Citibank, N.A.,
14     2 Cal.5th 945 (2017) ................................................................................................................. 23
15   McMahon v. Take-Two Interactive Software, Inc.,
16     640 F. App'x 669 (9th Cir. 2016) ................................................................................................ 3
17   Morongo Band of Mission Indians v. Rose,
18     893 F.2d 1074 (9th Cir. 1990) .................................................................................................. 24
19   Nationwide Biweekly Admin., Inc. v. Superior Court,
20     9 Cal. 5th 279 (2020) ................................................................................................................ 23
21   Navarro v. Block,
22     250 F.3d 729 (9th Cir. 2001) ...................................................................................................... 3
23   Neubronner v. Milken,
24     6 F.3d 666 (9th Cir. 1993) ........................................................................................................ 15
25   Novation Ventures, LLC v. J.G. Wentworth Company, LLC,
26     No. CV 15-00954, 2016 WL 6821110 (C.D. Cal. Feb. 1, 2016) .............................................. 16
27   Obesity Research Inst. LLC v. Fiber Research Int'l, LLC,
28     165 F. Supp. 3d 937 (S.D. Cal. 2016) ....................................................................................... 20

                                                                           -vi-
                                                                                                 Pltf.’s Mem. of P&A in Opp. to Def. Ninestar
                                                                                                        Technology Co. Ltd.’s Mtn. To Dismiss
 Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 7 of 35 Page ID #:837




1    Plascencia v. Lending 1st Mortg.,
2      583 F. Supp. 2d 1090 (N.D. Cal. 2008) .................................................................................... 21
3    Punian v. Gillette Co.,
4      No. 14-cv-05028, 2016 WL 1029607 (N.D. Cal. Mar. 15, 2016) ............................................ 22
5    Saunders v. Superior Ct.,
6      27 Cal.App.4th 832, 33 Cal.Rptr.2d 438 (1994)....................................................................... 21
7    Scilex Pharmaceuticals Inc. v. Sanofi-Aventis U.S. LLC,
8      552 F.Supp.3d 901 (N.D. Cal. 2021) ........................................................................................ 18
9    Sensible Foods, LLC v. World Gourmet, Inc.,
10     No. 11-2819, 2012 WL 566304 (N.D. Cal. Feb. 21, 2012) ...................................................... 14
11   Sonora Diamond Corp. v. Superior Court,
12     83 Cal. App. 4th 538-, 99 Cal. Rptr. 2d (2000) ....................................................................... 12
13   Southland Sod Farms v. Stover Seed Co.,
14     108 F.3d 1134 (9th Cir. 1997) .............................................................................................. 4, 15
15   Starr v. Baca,
16     652 F.3d 1202 (9th Cir. 2011) .................................................................................................... 7
17   Sue Shin v. Campbell Soup Co.,
18     No. CV 17-1082, 2017 WL 3534991 (C.D. Cal. Aug. 9, 2017) ............................................... 22
19   Sun Microsystems, Inc. v. Microsoft Corp.,
20     87 F.Supp.2d 992 (N.D. Cal. 2000) .......................................................................................... 22
21   Swartz v. KPMG LLP,, 10
22     476 F.3d 756 (9th Cir. 2007) .................................................................................................... 13
23   Taylor v. Yee,
24     780 F.3d 928 (9th Cir. 2015) ................................................................................................ 3, 10
25   ThermoLife Int’l LLC v. Sparta Nutrition LLC,
26     No. CV-19-01715, 2020 WL 248164 (D. Ariz. Jan. 16, 2020) ................................................ 18
27   ThermoLife Int'l, LLC v. Compound Sols., Inc.,
28     848 F. App'x 706 (9th Cir. 2021) .............................................................................................. 18

                                                                        -vii-
                                                                                             Pltf.’s Mem. of P&A in Opp. to Def. Ninestar
                                                                                                    Technology Co. Ltd.’s Mtn. To Dismiss
 Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 8 of 35 Page ID #:838




1    Trafficschool.com, Inc. v. Edriver Inc.,
2      653 F.3d 820 (9th Cir. 2011) ................................................................................................ 4, 18
3    United States ex rel. Anthony v. Burke Engineering Co.,
4      No. SACV 00-1216, 2004 WL 2106621 (C.D. Cal. Sept. 13, 2004) ....................................... 14
5    United States v. Grinnell Corp.,
6      384 U.S. 563 (1966) .................................................................................................................. 23
7    United States v. Sequel Contractors, Inc.,
8      402 F. Supp. 2d 1142 (C.D. Cal. 2005) .................................................................................... 14
9    Vess v. Ciba-Geigy Corp. USA,
10     317 F.3d 1097 (9th Cir. 2003) .................................................................................................... 3
11   Vitamins Online v. HeartWise, Inc.,
12     No. 2:13-cv-00982, 2020 WL 6581050 (D. Utah Nov. 10, 2020) .............................. 5, 6, 15, 17
13   Vitamins Online, Inc. v. Heartwise, Inc.,
14     No. 2:13-CV-982, 2016 WL 538458 (D. Utah Feb. 9, 2016) ..................................................... 9
15   Vitamins Online, Inc. v. HeartWise, Inc.,
16     207 F.Supp.3d 1233 (D. Utah 2016) ................................................................................... 6, 8, 9
17   VP Racing Fuels, Inc. v. Gen. Petroleum Corp.,
18     673 F. Supp. 2d 1073 (E.D. Cal. 2009)..................................................................................... 20
19   Walker & Zanger, Inc. v. Paragon Indus., Inc.,
20     549 F.Supp.2d 1168 (N.D. Cal. 2007) ........................................................................................ 4
21   Water Inc. v. Everpure Inc.,
22     No. CV 09-3389, 2011 WL 13176096 (C.D. Cal. Aug. 23, 2011) ........................................... 14
23   Watson Labs., Inc. v. Rhone-Poulenc Rover, Inc.,
24     178 F.Supp.2d 1099 (C.D. Cal. 2001) ...................................................................................... 22
25   William H. Morris Co. v. Grp. W, Inc.,
26     66 F.3d 255 (9th Cir. 1995) ........................................................................................................ 8
27   Williams v. Gerber Products Co.,
28     552 F.3d 934 (9th Cir. 2008) ...................................................................................................... 3

                                                                          -viii-
                                                                                                 Pltf.’s Mem. of P&A in Opp. to Def. Ninestar
                                                                                                        Technology Co. Ltd.’s Mtn. To Dismiss
 Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 9 of 35 Page ID #:839




1    Statutes
2
     15 U.S.C. § 1117(a) ...................................................................................................................... 24
3
     15 U.S.C. § 1125(a) ............................................................................................................ 1, 17, 21
4
     Cal. Bus. & Prof. Code § 17200 ................................................................................................... 19
5
     Cal. Bus. & Prof. Code § 17203 ................................................................................................... 23
6
     Cal. Bus. & Prof. Code § 17500 ................................................................................................... 19
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                                             -ix-
                                                                                                   Pltf.’s Mem. of P&A in Opp. to Def. Ninestar
                                                                                                          Technology Co. Ltd.’s Mtn. To Dismiss
Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 10 of 35 Page ID #:840




1                          INTRODUCTION AND OVERVIEW OF ALLEGATIONS 1
2            ML Products Inc. is a successful seller of third-party ink and toner cartridges on the Amazon.com
3    sales platform. As ML Products alleges in its Complaint, Dkt. 1 (hereafter “Compl.”), Amazon uses an
4    algorithm to prioritize organic search results for keyword searches made by consumers. For instance, if
5    a consumer searches Amazon for “Canon 046H” toner, the algorithm determines which available
6    products to display in the search results, and in what order. A limited number of products will appear on
7    the first page of Amazon’s search results and other competing products appear on sequential pages
8    thereafter. As ML Products alleges, placement at or near the top of the search results is critical to sales,
9    because most shoppers never look beyond the first page of search results and most purchases are made
10   from among the first few listings.
11           While ML Products accepts that there is competition for sales on Amazon, some of ML Products’
12   direct competitors have seized on a number of nefarious practices in order to dominate ink and toner
13   sales in the space. These sellers employ various false, deceptive, and otherwise unfair tactics to game
14   the Amazon algorithm, elevating their own products in the search result rankings and simultaneously
15   pushing down the competing products sold by Plaintiff and other honest sellers. These tactics include,
16   among other practices, commissioning fake product reviews; compensating customers to make favorable
17   reviews or to delete unfavorable reviews; using “ghost” accounts to create the false impression of interest
18   in or sales of products, to inflate product ratings, or to manipulate the “helpful” voting on product
19   reviews; and reusing older product listings to falsely capitalize on the sales and review history of other
20   products. By coupling these tactics with their use of multiple seller accounts that appear to be offering
21   competing products, some sellers are able to capture multiple top spots in the search results, further
22   relegating honest sellers like Plaintiff. Compl. ¶¶ 2-6.
23           Defendant Ninestar Technology Co. Ltd. (“Ninestar”) is one of these actors. As ML Products
24   recounts in its Complaint, Ninestar has engaged in a sweeping scheme of false product reviews and
25   similar tactics, enhanced by its use of straw-selling accounts that create the false appearance of
26
27   1
      Plaintiff’s Opposition to Ninestar Technology Co. Ltd.’s motion to dismiss (Dkt. 62) herein contains Plaintiff’s most
     comprehensive briefing and serves as Plaintiff’s lead brief. Many arguments herein are incorporated by reference into
28   Plaintiff’s briefs in opposition to the remaining defendants’ motions to dismiss.
                                                                   -1-
                                                                                    Pltf.’s Mem. of P&A in Opp. to Def. Ninestar
                                                                                           Technology Co. Ltd.’s Mtn. To Dismiss
Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 11 of 35 Page ID #:841




1    competition among its own toner and ink brands. ML Products asserts claims against Ninestar (and
2    several others) for false advertising under Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a), and
3    violations of California’s Unfair Competition Law (“UCL”) and False Advertising Law (“FAL”).
4           ML Products meticulously evidences Ninestar’s conduct in the Complaint. It uses screenshot
5    images to demonstrate actual examples of Ninestar manipulating product reviews through offers to
6    compensate reviewers. Compl. ¶¶ 78-82, 88 (e.g., offered customer a “full refund and bonus for
7    removing bad review.”). It uses product sales and review data to demonstrate that Ninestar products
8    “earn” positive reviews at astronomical rates as compared to far-better-selling competing OEM brand
9    products. Compl. ¶¶ 84-87 (e.g., over 100x review rate of OEM). As Plaintiff plausibly alleges, this is a
10   leading indicator of review manipulation. Id. ¶¶ 3, 89, 187-189. ML Products surveys data about
11   “helpful” voting on reviews, demonstrating that one Ninestar product has amassed well more than
12   double the “helpful” votes for 5-star reviews as its competing OEM brand product has collected—
13   despite selling only two percent as many units. Id. ¶ 90. All of this is against the backdrop of detailed
14   allegations that explain the how and the why behind Ninestar’s scheme. Id. ¶¶ 2 (importance of
15   placement), 180-181, 185-186 (importance of positive reviews), 3, 89, 176-192 (prominence of bad
16   tactics and red flags that suggest falsity). The Complaint also shines a light on Ninestar’s web of sham
17   affiliates and alter egos, a network that the International Trade Commission had occasion to label “an
18   intricate array of confusingly similar subsidiaries,” who “are all plainly in the same business syndicate.”
19   Certain Toner Cartridges and Components Thereof, Inv. No. 337-TA-740 (“Toner Cartridges 740”),
20   Initial Determination, 2011 WL 2470590, at *14 (June 1, 2011).
21          Ninestar now moves to dismiss Plaintiff’s Complaint. It contends that ML Products fails to allege
22   any false statement attributable to Ninestar, that Plaintiff fails to plead injury proximately caused by
23   Ninestar, and that Plaintiff lacks standing for or otherwise fails to state a claim under the California UCL
24   and FAL. These arguments are meritless. Misattribution of product ratings to a (supposedly) unbiased
25   source is “false and misleading.” Grasshopper House, LLC v. Clean & Sober Media, LLC, No. 18-cv-
26   00923, 2018 WL 6118440, at *5 (C.D. Cal. July 18, 2018). And, a number of courts have found that
27   Lanham Act claims based on schemes to manipulate Amazon reviews adequately allege falsity. See,
28   e.g., Interlink Products Int’l v. F & W Trading LLC, No. 15-1340, 2016 WL 1260713, at *2, 9 (D.N.J.

                                                         -2-
                                                                         Pltf.’s Mem. of P&A in Opp. to Def. Ninestar
                                                                                Technology Co. Ltd.’s Mtn. To Dismiss
Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 12 of 35 Page ID #:842




1    Mar. 31, 2016). Plaintiff alleges Ninestar’s false statements in droves—and with all the specificity
2    necessary to satisfy Rule 9(b). Further, Plaintiff alleges actionable injury to its commercial interest in
3    sales or business reputation as a proximate result of Ninestar’s conduct. Because ML Products
4    adequately alleges its Lanham Act claim and because, as discussed below, it has standing to pursue its
5    UCL and FAL claims and adequately states those claims, the Court should deny Ninestar’s motion in
6    its entirety.
7                                               LEGAL STANDARD
8            “To survive a motion to dismiss, a complaint need only ‘contain sufficient factual matter,
9    accepted as true, to ‘state a claim for relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662,
10   678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “Dismissal is proper only
11   where there is no cognizable legal theory, or an absence of sufficient facts alleged to support
12   a cognizable legal theory.” Taylor v. Yee, 780 F.3d 928, 935 (9th Cir. 2015), cert. denied, 136 S. Ct. 929
13   (2016), citing Navarro v. Block, 250 F.3d 729, 732 (9th Cir. 2001). A plaintiff need not show he is likely
14   to prevail on the merits of his claims; he need only allege facts that establish “more than a sheer
15   possibility that a defendant has acted unlawfully.” Iqbal, 556 U.S. at 678.
16           When deciding a motion to dismiss, a court “accept[s] all factual allegations in the complaint as
17   true and construes the pleadings in the light most favorable to the nonmoving party.” Taylor, 780 F.3d
18   at 935; McMahon v. Take-Two Interactive Software, Inc., 640 F. App'x 669, 671 (9th Cir.
19   2016); Williams v. Gerber Products Co., 552 F.3d 934, 937 (9th Cir. 2008). The court draws all
20   reasonable inferences from the complaint in favor of the plaintiff. In re Tracht Gut, LLC, 836 F.3d 1146,
21   1150 (9th Cir. 2016).
22           To the extent that claims are grounded in fraud, Rule 9(b) typically requires these claims to be
23   pleaded with particularity. A pleading satisfies Rule 9(b) where the allegations are “specific enough to
24   give defendants notice of the particular misconduct which is alleged to constitute the fraud charged so
25   that they can defend against the charge[.]” Bly-Magee v. California, 236 F.3d 1014, 1019 (9th Cir. 2001)
26   (internal quotation marks omitted). The standard requires the plaintiff set forth “the who, what, when,
27   where and how of the misconduct charged.” Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106 (9th
28   Cir. 2003) (internal quotation marks omitted).

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                                                                           Pltf.’s Mem. of P&A in Opp. to Def. Ninestar
                                                                                  Technology Co. Ltd.’s Mtn. To Dismiss
Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 13 of 35 Page ID #:843




1                                                            ARGUMENT
2    I.       Plaintiff Alleges False Statements Plausibly Giving Rise to Its Lanham Act, FAL, and
3             UCL Claims.
4             The Lanham Act “prohibits any person from misrepresenting her or another person’s goods or
5    services in commercial advertising or promotion.” Ariix, LLC v. NutriSearch Corp., 985 F.3d 1107,
6    1114-15 (9th Cir. 2021) (citation, internal quotations omitted). Ninestar argues that ML Products fails
7    to allege a false statement attributable to it, but any fair reading of Plaintiff’s complaint shows otherwise.
8    “To demonstrate falsity within the meaning of the Lanham Act, a plaintiff may show that the statement
9    was literally false, either on its face or by necessary implication, or that the statement was literally true
10   but likely to mislead or confuse consumers.” Southland Sod Farms v. Stover Seed Co., 108 F.3d 1134,
11   1139 (9th Cir. 1997). 2 A statement is “false” if it is “false or misleading, that it actually deceives or has
12   the tendency to deceive a substantial segment of its audience, that it’s likely to influence purchasing
13   decisions and that the plaintiff has been or is likely to be injured by the false advertisement.”
14   Grasshopper House, LLC v. Clean & Sober Media, LLC, No. 18-cv-00923, 2018 WL 6118440, at *5
15   (C.D. Cal. July 18, 2018), quoting TrafficSchool.com, Inc. v. Edriver Inc., 653 F.3 820, 828 (9th Cir.
16   2011).
17            Plaintiff adequately alleges falsity in Ninestar’s sweeping manipulation of Amazon product
18   reviews and in its straw-seller strategy. Attributing a biased product rating to an ostensibly unbiased
19   source—as Ninestar does on a staggering scale—is “both false and misleading.” See, e.g., Grasshopper
20   House, 2018 WL 6118440, at *5 (review misattribution sufficiently false to state a Lanham Act claim);
21   Interlink Products Int’l, 2016 WL 1260713, at *2, 9 (D.N.J. Mar. 31, 2016) (allegations that defendants
22   “purposefully drive up Amazon product ratings” with biased professional reviewers adequately allege
23   falsity element). For these reasons and as further discussed below, ML Products’ allegations are
24   sufficient to state a claim for Lanham Act false advertising.
25   2
       The other elements of a Lanham Act § 43(a) false advertising claim are: “(2) the statement actually deceived or has the
26   tendency to deceive a substantial segment of its audience; (3) the deception is material, in that it is likely to influence the
     purchasing decision; (4) the defendant caused its false statement to enter interstate commerce; and (5) the plaintiff has been
27   or is likely to be injured as a result of the false statement, either by direct diversion of sales from itself to defendant or by a
     lessening of the goodwill associated with its products.” Southland Sod, 108 F.3d at 1139. Ninestar does not challenge the
28   commercial nature of the conduct, and does not challenge the deception, materiality, or interstate commerce elements.
     Plaintiff addresses the proximate cause element in Point II, infra.
                                                                      -4-
                                                                                         Pltf.’s Mem. of P&A in Opp. to Def. Ninestar
                                                                                                Technology Co. Ltd.’s Mtn. To Dismiss
Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 14 of 35 Page ID #:844




1            “In the Ninth Circuit, claims of unfair competition and false advertising under [the FAL and the
2    UCL] are “substantially congruent” to claims made under the Lanham Act.” Walker & Zanger, Inc. v.
3    Paragon Indus., Inc., 549 F.Supp.2d 1168, 1182 (N.D. Cal. 2007) citing Cleary v. News Corp., 30 F.3d
4    1255 (9th Cir.1994). Accordingly—and as Ninestar does not dispute—if ML Products satisfies the
5    falsity element of the Lanham Act, it also satisfies the “congruent” falsity element of the FAL and the
6    UCL. For the reasons that follow, Plaintiff has done just that.
7           A.      Plaintiff Alleges Actionable False Statements in Ninestar’s Product Review
8                   Manipulation.
9           ML Products alleges that Ninestar has engaged in a sweeping campaign to manipulate the
10   Amazon review process. Courts recognize that similar allegations suffice to state a false advertising
11   claim under the Lanham Act. For instance, in Interlink Products, the court denied a motion to dismiss
12   the plaintiff’s false advertising claim asserting that competitor “Defendants purposefully drive up
13   Amazon product ratings by enlisting inherently biased professional reviewers intending for consumers
14   to rely on the misleading heightened reviews when selecting a product for purchase.” 2016 WL 1260713,
15   *8-9. The court found allegations that the defendant provided “free samples” to product reviewers and
16   engaged in a “business practice of using professional reviewers to drive up product ratings” on Amazon
17   sufficient to allege falsity under the Lanham Act. Id., AlphaCard Sys. LLC v. Fery LLC, No. 19-20110,
18   2020 WL 4736072 (D.N.J. Aug. 14, 2020), is similar. The plaintiff there asserted a Lanham Act false
19   advertising claim based on a business practice of “using fake reviews to drive up product ratings” which
20   “drive visibility of Defendants’ products on Amazon Marketplace and influence customer purchases of
21   those products.” Id. at *3. The plaintiff alleged that hundreds of “fake consumer reviews” were literally
22   false as purporting to state honest consumer opinion when, in fact, they were otherwise. Id. at *1-2. In
23   denying the motion to dismiss, the court rejected the assertion that the complaint did not identify the
24   false statements in question and found the allegations sufficient to state a claim on implied falsity
25   grounds. Id. at *3. See also iYogi Holding Pvt. Ltd. v. Secure Remote Support, Inc., No. C-11-0592,
26   2011 WL 6291793 (N.D. Cal. Oct. 25, 2011), report and recommendation adopted, 2011 WL 6260364
27   (N.D. Cal. Dec. 15, 2011) (plaintiff adequately pleaded false statements where it alleged that
28
                                                        -5-
                                                                       Pltf.’s Mem. of P&A in Opp. to Def. Ninestar
                                                                              Technology Co. Ltd.’s Mtn. To Dismiss
Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 15 of 35 Page ID #:845




1    “Defendants’ posting of shill reviews and false and misleading information on consumer websites were
2    literally false and if not literally false were likely to confuse customers.”).
3             Vitamins Online v. HeartWise, Inc., No. 2:13-cv-00982, 2020 WL 6581050, *1 (D. Utah Nov.
4    10, 2020), is also on-point and instructive. There, a competing seller of dietary supplements engaged in
5    violations of Section 43(a) of the Lanham Act, in part, by “manipulating Amazon.com’s … customer
6    review system” in order to increase product sales. Vitamins Online, 2020 WL 6581050, *1. At trial, the
7    court found that the defendant’s systematic voting on the “helpfulness” of reviews (which elevates
8    certain reviews to the top of the first page, beyond which most consumers do not look) and its offer of
9    free products to customers in exchange for reviews established the falsity element of the plaintiff’s
10   Lanham Act claims, whether evaluated as claims of literal falsity, implied falsity, or the use of a
11   deceptive “device.” Id. at *9-10, 19-20. 3
12            1.       Plaintiff Alleges False Statements
13            ML Products alleges that Ninestar engages in precisely these types of conduct, including
14   plausible allegations that Ninestar commissioned false (and undisclosed) compensated reviews or
15   offered free products for reviews, and plausible allegations of a sweeping scheme to inflate reviews and
16   ratings. On the first point, ML Products alleges examples of Ninestar offering compensation to product
17   reviewers to remove negative reviews. Compl. at, e.g., ¶ 79 (“The seller tries to manipulate reviews by
18   offering a full refund and bonus for removing your bad review.” “Company keeps harassing me to
19   change review for a refund.” “Seller saw my negative review and emailed me to offer new cartridges in
20   return to remove negative review.”). See also id. at ¶ 81 (“Vendor … offered an additional $10 if I delete
21   my [negative] review.”). Ninestar further offered outright payments to customers for favorable reviews.
22   Compl. ¶ 80 (customer offered gift card “to review a product that I have not purchased. They specifically
23   noted that while they knew I did not need it and had not bought it, that they would send me money to
24
     3
25     In an earlier ruling, the court explained that offering free products in exchange for positive reviews and block voting on the
     helpfulness of reviews both “qualify as the use of a device in commerce as described by Section 43(a)(1) of the Lanham
26   Act.” Vitamins Online, Inc. v. HeartWise, Inc., 207 F.Supp.3d 1233, 1240-41 (D. Utah 2016) vacated on other grounds in
     part on reconsideration by Vitamins Online, Inc. v. HeartWise, Inc., 2017 WL 2733867 (D. Utah May 11, 2017). Although
27   the plaintiff was “not able to point to a specific review or a specific helpfulness vote that was caused by [defendant],” the
     court found that the defendant used “a mechanism for the special purpose of increasing the number of positive reviews for
28   its products [and] for the special purpose of increasing the visibility of positive reviews and decreasing the visibility of
     negative reviews.” Id.
                                                                      -6-
                                                                                       Pltf.’s Mem. of P&A in Opp. to Def. Ninestar
                                                                                              Technology Co. Ltd.’s Mtn. To Dismiss
Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 16 of 35 Page ID #:846




1    post a positive review and ‘help them out.’”). See also id. at ¶ 82 (offering a $35 Amazon gift card and
2    purchase price refund in exchange for 5-star product review). One reviewer demonstrated in the body
3    of his 5-star review how Ninestar uses a QR code on its packaging to offer an Amazon gift card in
4    exchange for a “product picture or video” review. Compl. ¶ 88. Ninestar suggests (Mem. at 12) that this
5    example is an “alternative explanation” for the astounding volume of favorable reviews associated with
6    its products (see below), but this argument backfires. Ninestar omits to mention that the reviewer was
7    offered an incentive for his review, which is not an innocent explanation for why Ninestar products have
8    outlandish review rates, but instead an acknowledgement of impliedly false conduct. AlphaCard, 2020
9    WL 4736072, at *3. 4
10            On the second point, ML Products plausibly alleges that Ninestar’s practices were both extensive
11   and effective. Compare Compl. ¶ 41 (a “feedback loop fueled by deception”) with AlphaCard, 2020 WL
12   4736072, at *1 (false reviews used to “exploit[] Amazon’s search algorithm” and create “a self-
13   reinforcing cycle of wrongful gains at the expense of honest competitors like Plaintiffs.”). The
14   Complaint demonstrates that Ninestar ink and toner products have “earned” mind-boggling levels of
15   reviews and ratings on Amazon. For instance, as compared with the relevant OEM counterpart offerings,
16   one Ninestar product amassed on an equalized sales basis more than twenty-three times the number of
17   positive reviews. See Compl. ¶ 86 (Ninestar LxTek brand more than three times the positive reviews as
18   compatible OEM HP 902XL, despite just fourteen percent of sales). Another garnered more than one
19   hundred times the OEM’s positive reviews on an equalized sales basis. See id. ¶ 87 (Ninestar GPC Image
20   brand more than triple the positive reviews of the competing OEM HP 414A, despite only 3.5 percent
21   as many sales). Ninestar also uses false “helpful” votes to further manipulate the Amazon review
22   process. Id. ¶ 90. For instance, despite selling over the last two years only 2 percent as many
23
     4
24     The “alternative explanation” cases cited by Ninestar address the distinction between allegations asserting a “possible”
     entitlement to relief and those which establish a “plausible” entitlement to relief. See In re Century Aluminum Co. Securities
25   Litig., 729 F.3d 1104, 1108 (9th Cir. 2013); Eclectic Properties East, LLC v. Marcus & Millichap Co., 751 F.3d 990, (9th
     Cir. 2014). Century Aluminum considered that “something more” is required when a claim is based on “two possible
26   explanations, only one of which can be true and only one of which results in liability.” 729 F.3d at 996-998 (emphasis added).
     That is not the situation here: incentivizing customers with free gift cards (i) does not mean Ninestar does not use additional
27   manipulation tactics, and (ii) also establishes falsity. Either way, both cases acknowledge that under Starr v. Baca, 652 F.3d
     1202, 1216 (9th Cir. 2011), when faced with two plausible explanations, a plaintiff’s complaint may be dismissed “only
28   when defendant’s plausible alternative explanation is so convincing that plaintiff’s explanation is implausible.” (Emphasis
     in orig.). That is not the case here.
                                                                     -7-
                                                                                       Pltf.’s Mem. of P&A in Opp. to Def. Ninestar
                                                                                              Technology Co. Ltd.’s Mtn. To Dismiss
Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 17 of 35 Page ID #:847




1    replacements for the HP 564XL as the OEM, Ninestar’s offering boasts almost three times the number
2    of “helpful” votes for 5-star reviews. Id. With equalized sales, 5-star reviews of Ninestar’s offering
3    would tally well over one hundred times the OEM’s “helpful” review votes.
4             These well-pleaded facts render inapposite the BHRS Group case upon which Ninestar
5    principally relies. In that case, the court noted the lack of plausible allegations that the defendant itself
6    posted or was responsible for the reviews in question, citing to the court’s own explanation in an earlier
7    order. BHRS Grp., LLC v. Brio Water Tech., Inc., 553 F. Supp. 3d 793, 799 (C.D. Cal. 2021). That
8    earlier order referred to just three reviews of BHRS products which the plaintiff alleged were “false,”
9    with the only connection between the reviewers and the defendant being “vague and tenuous allegations”
10   that the reviewers had relationships with Brio management or employees, such as being classmates and
11   Facebook friends. BHRS Group, LLC v. Brio Water Technology, Inc., No. 2:20-cv-07652, 2020 WL
12   9422352, at *4 (C.D. Cal. Dec. 14, 2020). Unlike the allegations against Ninestar, Compl. ¶¶ 79-82, 88,
13   there was “no allegation[]” that anyone “acting on behalf of [the defendant] instructed or otherwise
14   engaged [the reviewers.]” 2020 WL 9422352, at *4. Equally important to its decision, the BHRS court
15   distinguished cases like Interlink and AlphaCard on the basis that BHRS did not allege “a massive
16   scheme of ratings manipulation involving an excessive number of paid reviews” or “hundreds of phony
17   customer reviews.” 553 F.Supp.3d at 800. As discussed above, ML Products alleges just such a “massive
18   scheme.” 5
19            2.       The Review Manipulation Is Attributable to Ninestar.
20            Ninestar argues that consumer reviews are “mere opinion” rather than actionable statements of
21   fact, Mem. at 11, and argues that those reviews and other conduct alleged in the Complaint are not
22   attributable to it. These arguments fail.
23            “The Lanham Act encompasses more than blatant falsehoods. It embraces innuendo, indirect
24   intimations, and ambiguous suggestions evidenced by the consuming public’s misapprehension of the
25   hard facts underlying an advertisement.” William H. Morris Co. v. Grp. W, Inc., 66 F.3d 255, 257-58
26
     5
       Ninestar’s case, Levitt v. Yelp! Inc., 765 F.3d 1123 (9th Cir. 2014), has no bearing here. In Levitt, which was not a Lanham
27   Act case, the court found no plausible connection between the small number of reviews at issue and the Yelp! CEO’s
     admission that it wrote some reviews. 765 F.3d at 1127. There is no need to “tie” to Ninestar, Mem. at 13, a consumer group
28   report identifying high numbers of product reviews as indicative of review manipulation. That report merely explains (and
     bolsters) ML Products’ otherwise well-pleaded allegations about Ninestar’s astronomical review statistics. Compl. ¶¶ 85-89.
                                                                    -8-
                                                                                      Pltf.’s Mem. of P&A in Opp. to Def. Ninestar
                                                                                             Technology Co. Ltd.’s Mtn. To Dismiss
Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 18 of 35 Page ID #:848




1    (9th Cir. 1995), supplemented, 67 F.3d 310 (9th Cir. 1995) (citation, quotation omitted). As the court
2    noted in Vitamins Online, “to fall within the text of the Lanham Act, a defendant does not need to make
3    a statement but only needs to use a statement or other form of conduct specified in the Act.” 207
4    F.Supp.3d at 1241-42 (emphasis in original). In Grasshopper House, the court properly observed that
5    the contention that consumer “opinions” are inactionable opinion “mischaracterizes” the actual claim,
6    i.e., that the product rating was misattributed as unbiased. 2018 WL 6118440, at *5 (“Companies violate
7    the Lanham Act whenever they offer misleading ‘opinions’ to promote their own financial interests.”).
8    The question is not whether the particular reviews identified in the Complaint were authored by
9    Ninestar. Rather, the point is that ML Products plausibly alleges that Ninestar has engaged in systematic
10   manipulation of the Amazon review process in order falsely to advertise its products. See also Vitamins
11   Online, Inc. v. Heartwise, Inc., No. 2:13-CV-982, 2016 WL 538458, at *6 (D. Utah Feb. 9, 2016) (noting
12   that the actual claim is that the conduct “giv[es] a false impression” about which reviews are helpful and
13   that a “high number of unbiased customers chose to post positive reviews on Amazon.com without any
14   anticipation of reward.”). Whatever the content of these particular consumers’ comments or ratings, ML
15   Products’ allegations plausibly demonstrate that Ninestar engaged in a scheme to manipulate Amazon
16   product reviews. (The Court may also reasonably infer that other reviewers did not comment on
17   Ninestar’s incentives within their reviews.) This is sufficient to establish falsity. 6
18            Ninestar also argues that certain conduct alleged in the Complaint is attributable to its affiliated
19   brands and shell companies rather than to it. Mem. at 10 & n.4, 12. But as discussed below, ML Products
20   adequately alleges that these entities function together as a common enterprise. Compl. ¶ 12 (Ninestar
21   and Ninestar Corp. “own, operate, and/or control, directly or indirectly, a number of ostensibly separate
22   ‘brands’ of replacement toner and ink which are offered for sale in the United States on Amazon. These
23   brands, including a number of shell corporations affiliated therewith, are alter egos of Ninestar U.S. and
24   Ninestar China. Ninestar U.S., Ninestar China, and these alter ego corporate affiliates and brands are
25   related entities under common ownership and control and are all part of a common enterprise that the
26
27   6
       In Casper Sleep, Inc. v. Nectar Brand LLC, No. 18-Civ-4459, 2020 WL 5659581, *9-10 (S.D.N.Y. Sept. 23, 2020), cited
     by Ninestar, the court dismissed the counterclaims in question as there was no falsity in the (unspecified) reviews where the
28   financial relationship was disclosed. Compare Compl. ¶¶ 79-82 (offering covert payment for positive reviews or to delete—
     and thus falsify—existing negative reviews).
                                                                  -9-
                                                                                   Pltf.’s Mem. of P&A in Opp. to Def. Ninestar
                                                                                          Technology Co. Ltd.’s Mtn. To Dismiss
Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 19 of 35 Page ID #:849




1    Ninestar Defendants refer to as ‘Ninestar’ and/or the ‘Ninestar Group.’”). Ninestar agrees that ML
2    Products alleges a “unified course of fraudulent conduct,” Mem. at 7, but argues that it is not responsible
3    for that conduct. This is contrary to Plaintiff’s allegations and, at this stage, the Court must accept factual
4    allegations and construe the Complaint in the light most favorable to Plaintiff. Taylor, 780 F.3d at 935.
5            In any event, far from threadbare, Plaintiff’s allegations are based on an astounding overlap and
6    business interchangeability among these brands and shell entities, which is evident from publicly
7    available documents referenced in the Complaint. See generally Compl. ¶¶ 38-77. Ninestar ignores or
8    (apparently) rejects Plaintiff’s allegations with respect to Ninestar brands Valuetoner, e-jet, E-Z Ink,
9    LxTek and GPC Image, simply labeling them conclusory. Mem. at 5 n.2, 12. But there is nothing
10   conclusory about the specific allegation that the Ninestar Group acquired Topjet, the prior owner of
11   those brands. Compl. ¶ 46. After the acquisition of Topjet in 2017, those brands expanded Ninestar’s
12   network of alter-egos and engaged in various actions attributable to Ninestar. Id. ¶ 59 (E-Z Ink and
13   Valuetoner offering “competing” replacements for Brother TN227). The Ninestar alter ego Valuetoner
14   offered customers compensation for deleting bad reviews about its HP61xl ink. Id. ¶ 79. Ninestar’s
15   LxTek brand ink had four times the number of positive reviews as the comparable Hewlett-Packard
16   902XL OEM ink—despite selling just 14 percent as many units. See id. ¶ 86. E-Z Ink and Valuetoner
17   sold “competing” Brother TN-227 toner, and in doing so also “competed” with other Ninestar brands
18   myCartridge, OA100, Ziprint, Myik, Teino, INKNI, and Mytoner. Compl. Id. ¶ 52. (Ziprint and Myik
19   are owned by Ninestar Technology Co. Ltd.)
20           Ninestar ignores other well-pleaded allegations uncovering the web of sham entities. For
21   instance, it ignores that William Dai (a/k/a Weiming Dai) the Chief Executive Officer and Agent for
22   Service of Process for Ninestar Technology is also an employee in various capacities at Lemero,
23   ICartridge Corp., and Plenty Talent Corp. Compl. ¶ 58. These shell companies own various Ninestar
24   brand trademarks and share various addresses (along with other shell companies Zhuhai Seine
25   Technology Co. Ltd. and Ninestar Management Co., Ltd.), thus tying Dai to no fewer than eight different
26   ink and toner brands: Ninestar, Lemero, myCartridge, OA100, Ziprint, Myik, Teino, and HiPage.
27   Compl. ¶¶ 47-58. Many of these entities appear to have no employees, and while Ninestar Technology
28   Company, Ltd. received a Paycheck Protection Program loan in 2020, a number of other “separate”

                                                          -10-
                                                                          Pltf.’s Mem. of P&A in Opp. to Def. Ninestar
                                                                                 Technology Co. Ltd.’s Mtn. To Dismiss
Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 20 of 35 Page ID #:850




1    Ninestar entities did not—plausibly suggesting a lack of employees. See id. ¶ 77. Ninestar Management
2    Co., Ltd. also operates as G&G Technology Co. Ltd., which appears to be the Ninestar Group alias, id.
3    ¶ 48, and which likely is the same entity disclosed as parent of Ninestar Technology Co. Ltd. in its
4    Notice of Interested Parties filed in connection with this lawsuit. See Dkt. 61 (identifying Zhuhai
5    Hengqin G&G Technology Co., Ltd. as parent). In addition to the false advertising and review
6    manipulation alleged in the Complaint, the brands “owned” by those shell companies also routinely
7    “compete” against each other. As noted above, ten different Ninestar brands “compete” to sell Brother
8    TN-227 compatible toner. Compl. ¶ 52. Those brands are connected by a web of shared addresses and
9    corporate officers. Id. ¶¶ 53-60. Ninestar brands Ziprint, Lemero, Teino, and Ejet all “compete” to sell
10   Canon 046H compatible replacements. Id. ¶ 61; see also id. ¶ 62 (these brands connected by many of
11   the same links). Lemero, myCartridge, Teino, E-Z Ink, GPC Image, Kingjet, and Starink all “compete”
12   to sell Canon PGI-250xl 251xl Compatible Ink. Id. ¶ 64; see also id. ¶ 65 (brand connections). Ziprint,
13   Lemero, OA100, Valuetoner, GPC Image, LxTek, Uniwork, Kingjet, and Starink all “compete” to sell
14   HP 202x Compatible Toner. Id. ¶ 70; see also id. 71 (brand connections). And on and on. See Compl.
15   ¶¶ 49, 64-65, 67-68. These are only some “examples,” id. ¶ 51, of Ninestar’s common enterprise. Beyond
16   the overlapping, shared business function of these entities in the “opaque web of sham business entities,”
17   id. ¶ 6, lies the simple fact that, “a sale from any one … is a sale by Ninestar.” Id. ¶ 45.
18             In view of this extensive corporate commingling, Ninestar points in the wrong direction when
19   it accuses ML Products of “conjecture and obfuscation.” Mem. at 14. The ITC agrees: it noted that the
20   thicket of Ninestar affiliates and entities “employ[s] complex business arrangements that make
21   enforcement of U.S. intellectual property [] rights difficult.” Certain Toner Cartridges and Components
22   Thereof, Inv. No. 337-TA-740 (“Toner Cartridges 740”), Initial Determination, 2011 WL 2470590, at
23   *14 (June 1, 2011). 7 The ITC likewise noted that a variety of companies affiliated with Ninestar “create
24   an intricate array of confusingly similar subsidiaries,” and “are all plainly in the same business
25   syndicate.” Toner Cartidges 740, Initial Determination, 2011 WL2470590, at *14. More recently, the
26   ITC found in an action brought by OEM Brother that a group of entities, including the above-mentioned
27
     7
      The ITC opinion related to Zhuhai Seine Technology, which the ITC noted was affiliated with Ninestar. Toner Cartridges
28   740, Comm’n Op., 2011 WL 13352062, at *4 (Oct. 5, 2011). See also Compl. ¶ 43 (Zhuhai Seine Technology among Ninestar
     shell companies).
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                                                                                Pltf.’s Mem. of P&A in Opp. to Def. Ninestar
                                                                                       Technology Co. Ltd.’s Mtn. To Dismiss
Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 21 of 35 Page ID #:851




1    Ninestar brand E-Z Ink (see Compl. ¶ 47), had “engaged in business practices deliberately designed to
2    mask their identities,” “mak[ing] it difficult to enforce intellectual property rights against them.” See
3    Certain Toner Cartridges and Components Thereof, Inv. No. 337-TA-1174, Initial Determination, 2020
4    WL 5202646, at *63 (July 23, 2020) (also noting the use of “multiple business names” and an “array of
5    subsidiaries and changing corporate profiles”). “Not only is it common for manufacturers and sellers of
6    aftermarket toner cartridges to do business under more than one name,” the Administrative Law Judge
7    observed, but “foreign aftermarket toner cartridge manufacturers have the capacity to replicate their
8    operations so as to appear to be a new business in a matter of months.” Id. at *62.
9           “Under the alter ego doctrine, [] when the corporate form is used to perpetrate a fraud,
10   circumvent a statute, or accomplish some other wrongful or inequitable purpose, the courts will ignore
11   the corporate entity and deem the corporation's acts to be those of the persons or organizations actually
12   controlling the corporation, in most instances the equitable owners.” JT Legal Grp. APC v. Yagoubzadeh
13   L. Firm LLP, No. CV 21-7033, 2021 WL 6618811, *4 (C.D. Cal. Nov. 1, 2021). “In California, two
14   conditions must be met before the alter ego doctrine will be invoked. First, there must be such a unity
15   of interest and ownership between the corporation and its equitable owner that the separate personalities
16   of the corporation and the shareholder do not in reality exist. Second, there must be an inequitable result
17   if the acts in question are treated as those of the corporation alone.” Id.
18          Factors regularly considered by courts when making an alter ego determination include: (1)
19   commingling of funds and other assets; (2) the holding out by one entity that it is liable for the debts of
20   the other; (3) identical equitable ownership of the two entities; (4) use of the same offices and employees;
21   (5) use of one as a mere shell or conduit for the affairs of the other; (6) inadequate capitalization; (7)
22   disregard of corporate formalities; (8) lack of segregation of corporate records; and (9) identical directors
23   and officers. Id. “No one characteristic governs, but the courts must look at all the circumstances to
24   determine whether the doctrine should be applied.” Id. (quoting Sonora Diamond Corp. v. Superior
25   Court, 83 Cal. App. 4th 538-39, 99 Cal. Rptr. 2d 836 (2000)).
26          Based on the Ninestar affiliates’ commingled operations and overlapping corporate affairs and
27   control, Plaintiff adequately alleges a unity of interest and ownership in the various Ninestar affiliate
28   entities to invoke the alter ego doctrine. See also Compl. ¶ 77 (Ninestar jointly and severally responsible

                                                         -12-
                                                                         Pltf.’s Mem. of P&A in Opp. to Def. Ninestar
                                                                                Technology Co. Ltd.’s Mtn. To Dismiss
Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 22 of 35 Page ID #:852




1    for all Ninestar entities, shell companies, brand entities). Because it would be inequitable to reward this
2    intentional misuse of the corporate form, the Court should treat Ninestar and its affiliates as alter ego
3    entities. 8
4             3. The Complaint Satisfies Rule 9(b).
5             Nor, finally, is there any validity to Ninestar’s contention that the Complaint fails to satisfy Rule
6    9(b). Although the Ninth Circuit has not held that Lanham Act false advertising claims must satisfy Rule
7    9(b), 23andMe, Inc. v. Ancestry.com DNA, LLC, 356 F. Supp. 3d 889, 908 (N.D. Cal. 2018), ML
8    Products’ allegations are more than sufficient to give Ninestar “notice of the particular misconduct
9    which is alleged to constitute the fraud charged so that [it] can defend against the charge[.]” Bly-Magee
10   v. California, 236 F.3d 1014, 1019 (9th Cir. 2001) (internal quotation marks omitted). In a footnote,
11   Ninestar begrudgingly acknowledges the upshot of ML Products’ claim that Defendants—among other
12   things—incentivize reviews at “high volume[s]” to manipulate the Amazon search algorithm and crowd
13   out competitors. Mem. at 15 n.7. Its only response is that this is “conclusory and lacks any basis in fact.”
14   Id. (citing Casper Sleep, 2020 WL 5659581). But unlike the counterclaim in Casper Sleep, which
15   “allege[d] that Plaintiff ‘manipulates’ reviews on Amazon, without explaining how Plaintiff
16   accomplishes the alleged manipulation,” 2020 WL 5659581, *11, ML Products’ Complaint contains
17   dozens of paragraphs both evidencing Ninestar’s manipulation and “explaining how [Ninestar]
18   accomplishes” the manipulation and injures Plaintiff. These allegations are anything but conclusory.
19            Indeed, ML Products alleges numerous detailed particulars of the “who, what, when, where, and
20   how” of Ninestar’s unlawful conduct. It alleges that Ninestar itself and as an enterprise in conjunction
21   with its affiliate companies engages in the conduct amounting to false advertising. Compl. ¶¶ 35, 36,
22   43-51, 78-92. 9 It alleges that the conduct includes product review and ratings manipulation on Amazon
23   through commissioning false reviews, undisclosed compensated reviews, or offers of free products in
24   exchange for reviews; compensating purchasers to remove negative reviews; rating manipulation
25   8
       Plaintiff’s alter ego allegations are by no means exhaustive. If the Court believes more is required, Plaintiff would
26   respectfully request leave to amend to add further allegations.
     9
       See also Points I.A.2 and I.B. Ninestar objects to treating it and its affiliates as one (Mem. at 10 n.4), but the case it cites as
27   requiring “separate[]” allegations about each defendant involved completely unrelated and unaffiliated defendants. See
     Swartz v. KPMG LLP, 476 F.3d 756 (9th Cir. 2007). Even so, Swartz confirms that where multiple defendants are sued as
28   part of a scheme, “there is no absolute requirement … [that] the complaint must identify false statements made by each and
     every defendant.” Id. at 764.
                                                                    -13-
                                                                                          Pltf.’s Mem. of P&A in Opp. to Def. Ninestar
                                                                                                 Technology Co. Ltd.’s Mtn. To Dismiss
Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 23 of 35 Page ID #:853




1    (including through the use of “ghost” accounts, “recycling” old product listings, and “helpful” review
2    voting); and using straw-seller accounts to crowd the top Amazon search results. Id. ¶¶ 4, 6, 39-41, 45,
3    75, 90, 176, 228. ML Products alleges that Ninestar has engaged in this conduct since at least 2017, id.
4    ¶¶ 45-46, but also alleges specific examples of most of these practices, which are sufficient to identify
5    when conduct took place. Id. ¶¶ 37-39; 52-92 (reviewer comments dated 2019, 2020, and 2021). Further,
6    dates are discernible in the images included in the Complaint. See id. ¶¶ 79-81. Plaintiff alleges with
7    particularity that this conduct took place within the Amazon sales platform, thus pleading the “where”
8    element. Compl. ¶¶ 76, 78-92. Finally, Plaintiff alleges in great detail “how” Ninestar manipulates
9    reviews and ratings to boost its position as a top Amazon seller: by “flooding the marketplace with
10   [Ninestar] brands… manipulat[ing] the Amazon search algorithms with incentivized reviews, fake
11   reviews”, an “inexplicable volume of reviews and elevated product ratings,” and the “false use of
12   “helpful” votes on reviews.” See Compl. at, e.g., ¶¶ 78-90; 182-198 (explaining how bad actors
13   manipulate Amazon search algorithm). These allegations are decidedly unlike those in the cases Ninestar
14   cites. See Water Inc. v. Everpure Inc., No. CV 09-3389, 2011 WL 13176096 (C.D. Cal. Aug. 23, 2011)
15   (omitting allegation of the actual statements that were allegedly false); Sensible Foods, LLC v. World
16   Gourmet, Inc., No. 11-2819, 2012 WL 566304 (N.D. Cal. Feb. 21, 2012) (finding implausible the claim
17   that words “veggie” and “apple” are false in connection with sale of products containing veggies and
18   apples).
19            It is true that ML Products pleads just some of the (many) examples of Ninestar’s manipulation,
20   and also that “only discovery … will lift the veil on the totality of Defendants’ conduct.” Id. ¶ 42. 10 But
21   these are specific examples, sufficient to put Ninestar on notice of the claim to defend, and where “a
22   plaintiff is alleging a systematic practice of fraud, the complaint need not include specific details of
23   every alleged fraudulent claim forming the basis of plaintiff’s complaint but merely some representative
24   examples.” K&N Eng’g, Inc. v. Spectre Performance, No. EDCV 09-01900, 2010 WL 11468976 at *8
25   (C.D. Cal. Feb. 9, 2010). See also United States v. Sequel Contractors, Inc., 402 F. Supp. 2d 1142, 1153
26   (C.D. Cal. 2005); Asis Internet Servs. v. Optin Global, Inc., No. C 05-5124, 2006 WL 2792436, at *3
27
     10
       In its brief, Ninestar omits from this quote the emphasized words (“on the totality”) in order misleadingly to argue that ML
28   Products “admits” that the Complaint fails under Rule 9(b). See Mem. at 9. The Complaint self-evidently contains a great
     deal of detail about Ninestar’s conduct, but discovery will reveal more.
                                                                  -14-
                                                                                    Pltf.’s Mem. of P&A in Opp. to Def. Ninestar
                                                                                           Technology Co. Ltd.’s Mtn. To Dismiss
Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 24 of 35 Page ID #:854




1    (N.D. Cal. Sept. 27, 2006); United States ex rel. Anthony v. Burke Engineering Co., No. SACV 00-1216,
2    2004 WL 2106621, at *3 (C.D. Cal. Sept. 13, 2004). Finally, although Ninestar quibbles with Plaintiffs’
3    allegations to the extent they are made “on information and belief,” Mem. at 5 n.2, “allegations of fraud
4    based on information and belief [ ] may be relaxed with respect to matters within the opposing party's
5    knowledge,” but shall “state the factual basis for the belief.” Neubronner v. Milken, 6 F.3d 666, 672 (9th
6    Cir. 1993). ML Products has adequately stated that factual basis.
7                                                     *    *     *
8           There is, in short, no plausible explanation for Ninestar’s cartoonish Amazon review statistics—
9    bolstered by allegations demonstrating specific attempts to manipulate reviews—other than a “false
10   ratings and reviews” scheme used to manipulate the Amazon algorithm. Id. ¶¶ 84, 78-92. Taken together
11   or individually, these allegations—which are but a few of “many such examples,” Compl. ¶ 87—are
12   sufficient to plead falsity under the Lanham Act. Interlink, 2016 WL 1260713 *9; AlphaCard, 2020 WL
13   4736072, *2-3; Vitamins Online, 2020 WL 6581050, *16-18.
14          B.      Plaintiff Alleges Actionable False Statements in Ninestar’s Straw-Seller Strategy.
15          As noted above, a Lanham Act false advertising claim can be premised on a statement that is
16   “literally false, either on its face or by necessary implication,” or “literally true but likely to mislead,
17   confuse or deceive consumers.” Southland Sod, 108 F.3d at 1139. ML Products’ allegations that Ninestar
18   uses a litany of sham selling brands in order to occupy the top organic search results, Compl. ¶¶ 6, 43-
19   51, adequately plead both types of falsity. As Plaintiff alleges, Ninestar enhances the impact of its other
20   deceptions by using them in combination with “multiple seller accounts that appear to offer competing
21   products to the consumer,” Compl. ¶ 6, but in actuality just offer the same Ninestar toner or ink. If, as
22   Plaintiff alleges, the “straw-seller” accounts, controlled through an “opaque web of sham business
23   entities,” id., are false fronts, then Ninestar’s advertisements for these products are “literally false” for
24   purposes of the Lanham Act. On the other hand, if these are actual entities that exist—at least on paper
25   or in a post office box somewhere—then the advertising information (or some of it) may be literally
26   true, but it is “likely to mislead, confuse or deceive consumers.”
27          Ninestar argues that “the presence of the [multiple products] on the first page of Amazon search
28   results does not amount to a false statement,” Mem. at 13, but this argument takes the wrong focus. For

                                                          -15-
                                                                          Pltf.’s Mem. of P&A in Opp. to Def. Ninestar
                                                                                 Technology Co. Ltd.’s Mtn. To Dismiss
Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 25 of 35 Page ID #:855




1    purposes of the straw-seller issue, the falsity is not the ultimate ranking of the products—though this
2    both explains the strategy of using multiple sellers and it is also true that these sellers engage in ranking
3    manipulation. The falsity in this context is instead whether consumers are or are likely to be deceived
4    by the false designations of these sham competitors. Actual deception is a fact question, and so long as
5    the complaint “plausibly suggest[s] a likelihood to mislead,” there is no basis for dismissal. Clorox Co.
6    v. Reckitt Benckiser Group PLC, 398 F.Supp.3d 623, 636 (N.D. Cal. 2019) (denying motion to dismiss
7    Lanham Act claim). Here, Plaintiff plausibly suggests just such a likelihood. Compl. at, e.g., ¶ 73 (shell
8    companies and brands “lead the consumer to believe she is choosing from among independently
9    competing companies or brands. In reality, the choice is from a large number of offerings of the same
10   product sold by and for the benefit of Ninestar.”). 11
11            Although the plaintiff’s argument in the Novation Ventures case, cited by Ninestar, sounds
12   superficially similar to the rationale that ML Products ascribes to Ninestar’s straw seller strategy (i.e.,
13   “crowding” the search results), the claim there was dismissed because there was no likelihood of
14   consumer confusion. Novation Ventures, LLC v. J.G. Wentworth Company, LLC, No. CV 15-00954,
15   2016 WL 6821110, *8 (C.D. Cal. Feb. 1, 2016). In Novation Ventures, the plaintiff only claimed that
16   the advertisements in question offered a falsity if a consumer entered a very specific query into a search
17   engine search bar: “who competes with [defendant]?” Id. at *7. Even then, the court noted that the
18   advertisements were clearly labeled and segregated as advertisements, and they did not on their face
19   suggest in any way that the advertising entity was in fact a competitor of the defendant. Further, and
20   unlike here, because the case dealt with advertising for an expensive product, the court held that there
21   was “no plausible likelihood of deception where the relevant reasonable consumer would exercise a
22   heightened degree of care and precision, where the purchase price of the transactions range from $5,000
23   to $1,000,000 (or more).” Id. at *8. In short, Novation Ventures does nothing to immunize Ninestar’s
24   deception as alleged here. See also Lona’s Lil Eats, LLC v. DoorDash, Inc., No. 20-cv-06703, 2021 WL
25   151978, * 7 (N.D. Cal. Jan. 18, 2021) (denying motion to dismiss Lanham Act claim asserting that
26
27   11
       Nor is there any lack of specificity in Plaintiff’s allegations. See Compl. ¶¶ 37, 49 (identifying specific products); 52-60
     (Brother TN-227: at least ten different Ninestar brands); 61-63 (Canon 046H: at least four different Ninestar brands); 64-66
28   (Canon PGI-250xl and 251xl: at least seven different Ninestar brands); 67-69 (Canon PGI-280xl and 281xl: at least twelve
     different Ninestar brands); 70-72 (HP 202X: at least nine different Ninestar brands).
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                                                                                     Pltf.’s Mem. of P&A in Opp. to Def. Ninestar
                                                                                            Technology Co. Ltd.’s Mtn. To Dismiss
Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 26 of 35 Page ID #:856




1    misleading information on website landing pages “steered non-Partner restaurants’ would-be customers
2    to DoorDash’s Partner Restaurants” for financial gain).
3              Finally, Ninestar’s suggestion that Amazon has a “seller violation” reporting process, see Mem.
4    at 4, 15 & Request for Judicial Notice, has no bearing on whether Plaintiff states a claim for false
5    advertising. See, e.g., Vitamins Online, 2020 WL 6581050, *12 (“block voting” on review “helpfulness”
6    that amounted to falsity also “was in violation of Amazon’s policies.”); Interlink, 2016 WL 1260713,
7    *8 (plaintiff adequately alleged Lanham Act false statement even where defendant argued “actual
8    complaint is with Amazon’s product review reporting process”). 12 The Court may reasonably infer that
9    Amazon’s seller code of conduct exists for the protection of fair competition on the platform. See Compl.
10   ¶¶ 196-200 (identifying “unfair activities” including “[m]anipulating sales rank”). This does not,
11   however, mean that ML Products’ “fundamental gripe,” Mem. at 14, is not Ninestar’s violation of the
12   laws as asserted in the Complaint.
13   II.       ML Products Adequately Pleads Injury Proximately Caused by Ninestar.
14             In Lexmark International Inc., v. Static Control Components Inc., 572 U.S. 118, 140 (2014), the
15   Supreme Court resolved a circuit split of varying tests for standing and proximate injury under the
16   Lanham Act, holding that a plaintiff must plead an injury “to a commercial interest in sales or business
17   reputation proximately caused by the defendant’s misrepresentations.” A consumer who is misled into
18   purchasing a product generally is not considered to be within the Lanham Act’s “zone of interest,” 572
19   U.S. at 132, but where a person’s “position in the marketplace has been damaged by [the defendant’s]
20   false advertising … [t]here is no doubt that it is within the zone of interests protected by the statute.” Id.
21   at 137.
22             To satisfy the proximate cause component of the inquiry, “a plaintiff suing under § 1125(a)
23   ordinarily must show that its economic or reputational injury flows directly from the deception wrought
24   by the defendant’s advertising; and that occurs when deception of consumers causes them to withhold
25   trade from the plaintiff.” Id. at 133. The “intervening step of consumer deception is not fatal” to this
26
     12
       As noted in Plaintiff’s Response to RJN, the Court may take judicial notice that an Amazon website page exists, but the
27   Court may not notice the content thereof for the truth of the matter asserted. Farrell v. Boeing Employees Credit Union, 761
     Fed.Appx. 682, 685 (9th Cir. 2019); see also Gerritsen v. Warner Bros. Ent. Inc., 112 F. Supp. 3d 1011, 1029 (C.D. Cal.
28   2015) (“[I]nformation appearing on [] third party websites is not a proper subject of judicial notice because it is not capable
     of accurate and ready determination.”).
                                                                   -17-
                                                                                     Pltf.’s Mem. of P&A in Opp. to Def. Ninestar
                                                                                            Technology Co. Ltd.’s Mtn. To Dismiss
Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 27 of 35 Page ID #:857




1    showing. Id. Indeed, “[d]iversion of sales to a direct competitor” is considered “the paradigmatic direct
2    injury from false advertising.” Id. at 138.
3            ML Products easily meets the pleading threshold. ML Products and Ninestar are direct
4    competitors for third-party ink and toner sales, thus placing Plaintiff squarely within the Lanham Act’s
5    “zone of interests.” Compl. ¶ 1 (ML Products and Defendants “compete for those sales” on Amazon);
6    see also id. at ¶¶ 2, 7, 8, 74-75, 91, 203; Mem. at 3 (acknowledging). When a competitor influences
7    consumers to purchase its products instead of the plaintiff’s by making false statements about either its
8    own products or its competitors’ products, it is a “classic Lanham Act false advertising claim.” See
9    Lexmark, 572 U.S. at 137. ML Products alleges precisely the manner in which Ninestar’s false
10   statements “diver[t]” sales to it. Those falsities “artificially elevate [Ninestar’s] listings to higher priority
11   positions in the organic search results … and thus garner greater sales while at the same time bumping
12   down their competitors’ products and thus decreasing their competitors’ sales.” Compl. ¶ 3; see also id.
13   at ¶¶ 2 (most shoppers do not look beyond limited first-page results); ¶¶ 176-192 generally. ML Products
14   alleges that it has suffered lost sales as a result of Ninestar’s false statements. Id. ¶¶ 91, 203-210.
15           These allegations are sufficient to satisfy proximate cause even where the false statements relate
16   only to Defendants’ products. See ThermoLife Int'l, LLC v. Compound Sols., Inc., 848 F. App'x 706, 709
17   (9th Cir. 2021) (complaint satisfied proximate cause requirement where products directly compete,
18   because “potential customers were deceived” by defendant’s false advertising of its own product); Scilex
19   Pharmaceuticals Inc. v. Sanofi-Aventis U.S. LLC, 552 F.Supp.3d 901, 914 (N.D. Cal. 2021) (plaintiff
20   adequately pleaded Lanham Act proximate cause where it alleged that parties were competitors that
21   “compete for the same customer segments” and defendants’ allegedly false advertising about
22   defendants’ own products caused consumers “to withhold trade from the plaintiff,” even if this was not
23   the only cause of lost sales). 13 See also Trafficschool.com, Inc. v. Edriver Inc., 653 F.3d 820, 826 (9th
24   Cir. 2011) (courts “generally presume[] commercial injury when defendant and plaintiff are direct
25   competitors and defendant’s misrepresentation has a tendency to mislead consumers.”). Finally, as noted
26   in Point I.A., above, numerous Lanham Act cases alleging Amazon review manipulation have survived
27
     13
       Ninestar cites ThermoLife Int’l LLC v. Sparta Nutrition LLC, No. CV-19-01715, 2020 WL 248164 (D. Ariz. Jan. 16, 2020).
28   Mem. at 16. Unlike here, and as the Scilex court noted, 552 F.Supp.3d at 914, the parties in that case were not direct
     competitors. 2020 WL 248164, *9.
                                                                 -18-
                                                                                 Pltf.’s Mem. of P&A in Opp. to Def. Ninestar
                                                                                        Technology Co. Ltd.’s Mtn. To Dismiss
Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 28 of 35 Page ID #:858




1    Rule 12 challenges. Because ML Products alleges that it is a direct competitor of Defendants and that
2    false statements by Defendants created an Amazon feedback loop that diverted sales from it to
3    Defendants, ML Products, too, adequately alleges proximate cause.
4    III.     ML Products Sufficiently Pleads its California UCL and FAL Claims.
5             A.       Competitor Standing Does Not Require Direct Reliance, Only Injury in Fact, Which
6                      ML Products Sufficiently Pleads.
7             California’s UCL prohibits “any unlawful, unfair or fraudulent business act or practice[.]” Cal.
8    Bus. & Prof. Code § 17200. The FAL prohibits any “unfair, deceptive, untrue, or misleading
9    advertising.” Cal. Bus. & Prof. Code § 17500. Ninestar argues that ML Products lacks standing to bring
10   an action under the UCL and FAL because, it says, ML Products must allege its own direct and actual
11   reliance on Ninestar’s misrepresentations. Mem. at 17-19. According to Ninestar, “the California
12   Supreme Court has held that the amended UCL imposes an actual reliance requirement on plaintiffs who
13   bring a UCL action based on a fraud theory involving false advertising[,]” but it does not cite a California
14   Supreme Court decision for this proposition. 14 Instead, it cites L.A. Taxi Coop., Inc. v. Uber Techs. Inc.,
15   114 F.Supp.3d 852 (N.D. Cal. 2015). L.A. Taxi Coop. cites to Heartland Payment Sys., Inc. v. Mercury
16   Payment Sys. LLC, No. 14-cv-0437, 2015 WL3377662, *6 (N.D. Cal. Feb. 24, 2015), which finally,
17   quotes the California Supreme Court, but it quotes a UCL action in which a consumer plaintiff asserting
18   a fraud-based claim was required to plead his own reliance. Id., quoting In re Tobacco II Cases, 46 Cal.
19   4th 298, 326-328, 207 P.3d 20, 39-40 & n.17 (2009). Unlike Ninestar, the Heartland Payment court
20   acknowledged that, in fact, “[n]o California court has addressed” whether “competitor plaintiffs must
21   plead their own reliance, or whether pleading consumer reliance is sufficient for fraudulent business
22   practices claims brought by competitors.” Heartland Payment, 2015 WL3377662, at *7 (emphasis
23   added). See also A White & Yellow Cab Inc. v. Uber Techs., Inc., No. 15-CV-05163, 2017 WL 1208384,
24   at *8 (N.D. Cal. Mar. 31, 2017) (cited by Ninestar, acknowledging “there is a split among district courts
25   sitting in California” on the issue of reliance when it deals with direct competitors).
26
27   14
        The “amended UCL” refers to the post- Proposition 64 statute. “The intent of [Proposition 64] was to ‘prohibit private
     attorneys from filing lawsuits for unfair competition where they have no client who has been injured in fact under the standing
28   requirements of the United States Constitution.’” Allergan, Inc. v. Athena Cosmetics, Inc., 640 F.3d 1377 (9th Cir. 2011)
     (quoting Cal. Prop. 64 § 1(e).
                                                                   -19-
                                                                                     Pltf.’s Mem. of P&A in Opp. to Def. Ninestar
                                                                                            Technology Co. Ltd.’s Mtn. To Dismiss
Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 29 of 35 Page ID #:859




1              While it makes sense that a consumer plaintiff asserting a fraud-based claim would be required
2    to plead reliance, the same does not follow in a case like this one, which is brought by a competitor.
3    The California Supreme Court has made clear that the purpose of the UCL “is to protect both consumers
4    and competitors by promoting fair competition.” Kwikset Corp. v. Superior Ct., 51 Cal. 4th 310, 320,
5    246 P.3d 877, 883 (2011) (emphasis added). Kwikset further informs that Proposition 64’s purpose was
6    to clarify an injury in fact requirement, and injury in fact can be shown where a plaintiff has lost sales
7    or income because of a defendant’s misdeeds. See id. at 325 (“If a party has alleged or proven a personal,
8    individualized loss of money or property in any nontrivial amount, he or she has also alleged or proven
9    injury in fact.”).
10             Implying a “first-party” reliance requirement in a competitor case, as Ninestar advocates, would
11   both frustrate the purpose of the UCL and go beyond the stated purpose of Proposition 64. Competitors,
12   after all, are also injured by unfair competition—even when they do not themselves purchase a
13   defendant’s product. Ninestar’s argument would effectively preclude any such competitor UCL/FAL
14   claim unless the competitors had some prior dealings together. The Ninth Circuit, however, has observed
15   that California Supreme Court decisions make clear that UCL standing does not in any way hinge on a
16   prior “business dealings requirement.” Allergan, 640 F.3d at 1381, citing Kwikset and Clayworth v.
17   Pfizer, Inc., 49 Cal. 4th 758 (2010) (reversing district court, competitor plaintiff had UCL standing in
18   action alleging lost sales due, inter alia, to defendants’ “violation of state and federal misbranding
19   laws”).
20             This Court should decline Ninestar’s invitation to read a “business dealings requirement” into
21   UCL standing and, absent a California Supreme Court or Ninth Circuit directive otherwise, follow
22   better-reasoned cases which have not imposed a “first-party” reliance requirement on competitor
23   standing. See VP Racing Fuels, Inc. v. Gen. Petroleum Corp., 673 F. Supp. 2d 1073, 1086 (E.D. Cal.
24   2009) (finding that “Plaintiff [direct competitor] has been injured by consumer reliance upon
25   Defendant's misrepresentations which have resulted in competitive harm and diverted sales.”); Obesity
26   Research Inst. LLC v. Fiber Research Int'l, LLC, 165 F. Supp. 3d 937, 948 (S.D. Cal. 2016) (“There is
27   no requirement that there be allegations of business dealings between parties.”). Because ML Products
28
                                                         -20-
                                                                        Pltf.’s Mem. of P&A in Opp. to Def. Ninestar
                                                                               Technology Co. Ltd.’s Mtn. To Dismiss
Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 30 of 35 Page ID #:860




1    is a direct competitor of Ninestar and has suffered injury in fact, it meets UCL and FAL standing
2    requirements. 15
3            B.       ML Products States a Claim Under the UCL’s Unlawful Prong
4            To state a UCL claim based on an “unlawful” business act or practice, a plaintiff needs only
5    allege violations of some underlying law. Plascencia v. Lending 1st Mortg., 583 F. Supp. 2d 1090, 1098
6    (N.D. Cal. 2008), citing Saunders v. Superior Ct., 27 Cal.App.4th 832, 838–39, 33 Cal.Rptr.2d 438
7    (1994) (“Violation of almost any federal, state, or local law may serve as the basis for a UCL claim”).
8            The Complaint satisfies this requirement. ML Products alleges that “defendants’ false and
9    misleading statements of fact and misrepresentations of fact concerning its products were made, and
10   continue to be made, in commercial advertising, promotions, and direct communications with consumers
11   on their Amazon.com online sales platform in a manner material to the public’s decision to purchase
12   Defendants’ products instead of those of their competitors, including Plaintiff. … [These statements]
13   are false and misleading in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).” Compl.
14   ¶ 215. See also id. ¶¶ 235-242 (FAL violations). Stating a valid claim under the Lanham Act and the
15   FAL for misrepresentations of fact satisfies the unlawful prong of the UCL; see also Cisco Sys., Inc. v.
16   Beccela's Etc., LLC, 403 F. Supp. 3d 813, 830 (N.D. Cal. 2019) (“Defendants state a valid claim under
17   the Lanham Act for Cisco's alleged misrepresentations. This alleged violation satisfies both the UCL's
18   unlawful and fraudulent prongs.”).
19           C.       ML Products States a Claim Under the UCL’s Unfair Prong
20           The UCL prohibits business practices that constitute “unfair competition,” and the FAL’s
21   prohibition against unfair advertising is expressly incorporated therein as a form of unfair competition.
22   Hinojos v. Kohl's Corp., 718 F.3d 1098, 1103 (9th Cir. 2013). “The statutory language referring to ‘any
23   unlawful, unfair or fraudulent’ practice … makes clear that a practice may be deemed unfair even if not
24   specifically proscribed by some other law.” Cel-Tech Commc’ns, Inc. v. Los Angeles Cellular Tel. Co.,
25   20 Cal.4th 163, 180 (1999) (emphasis in orig.). This makes sense when “a major purpose” of the UCL
26   is “the preservation of fair business competition.” Id. (quotation, citation omitted).
27
     15
        If the Court decides that competitor claims under the UCL’s fraudulent and unlawful prongs require direct reliance, this
28   still does not affect ML Products’ adequately pled claim under the UCL’s unfair prong as discussed in Point III.C. below.

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                                                                                  Pltf.’s Mem. of P&A in Opp. to Def. Ninestar
                                                                                         Technology Co. Ltd.’s Mtn. To Dismiss
Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 31 of 35 Page ID #:861




1             Ninestar nonetheless argues (Mem. at 20) that unfair prong claims that overlap with claims under
2    the other prongs cannot stand alone, citing Hadley v. Kellogg Sales Co., 243 F.Supp.3d 1074 (N.D. Cal.
3    2017) and Johnson v. Ocwen Loan Servicing, LLC, No. EDCV 17-01373, 2017 WL 10581088 (C.D.
4    Cal. Dec. 11, 2017), aff'd, 744 F. App'x 418 (9th Cir. 2018). But these are cases brought by consumers
5    rather than competitors. Hadley specifically acknowledged that the test for consumer unfair prong claims
6    differed from the competitor test set out in Cel-Tech. Hadley, 243 F.Supp.3d at 1104. Only after
7    surveying the “unsettled” landscape of consumer tests did the Hadley court then indicate that
8    “[r]egardless of the test,” unfair prong claims that “overlap entirely” with claims under the other prongs
9    cannot survive if the other claims do not survive. See id. at 1104-05. 16 Hadley did not apply this standard
10   to a competitor case and to the extent the language in the opinion seemed to do so, it is dicta. There is
11   no question that unfair prong claims may stand alone. Cf. Watson Labs., Inc. v. Rhone-Poulenc Rover,
12   Inc., 178 F.Supp.2d 1099, 1117-19 (C.D. Cal. 2001) (noting that court previously permitted competitor
13   unfair prong claim to proceed even where plaintiff “does not assert” unlawful or fraudulent prong
14   claims); Sun Microsystems, Inc. v. Microsoft Corp., 87 F.Supp.2d 992, 999-1000 (N.D. Cal. 2000)
15   (competitor unfair prong proceeded even without showing of “fraudulent business practice” or violation
16   of “specific statutory proscription”).
17            In any event, ML Products has alleged Ninestar’s harm to competition generally in a way that
18   does not “overlap entirely” with its other claims. Whatever the status of the consumer unfair prong test,
19   this is consistent with the test for competitors: “unfair” conduct is “conduct that threatens an incipient
20   violation of an antitrust law, or violates the policy or spirit of one of those laws because its effects are
21   comparable to or the same as a violation of the law, or otherwise significantly threatens or harms
22   competition.” Cel-Tech, 20 Cal.4th at 187. First, it is clear that Plaintiff needs not allege an actual
23   violation of the Sherman Act or any other law to satisfy this standard, as Cel-Tech itself confirms. 20
24   Cal.4th at 180. Conduct that violates the policy or spirit of the antitrust laws or that significantly
25   threatens or harms competition suffices. As to that “policy or spirit,” the nation’s antitrust laws are
26
     16
       The cases cited in Hadley for this proposition are also consumer, rather than competitor, cases. See Punian v. Gillette Co.,
27   No. 14-cv-05028, 2016 WL 1029607 (N.D. Cal. Mar. 15, 2016); In re Actimmune Mktg. Litig., No. C 08-02376, 2009 WL
     3740648 (N.D. Cal. Nov. 6, 2009), aff’d 464 Fed.App’x. 651 (9th Cir. 2011). As noted, Johnson v. Ocwen, which Ninestar
28   also offers for this proposition, is a consumer case. Johnson itself cites only another consumer case, Sue Shin v. Campbell
     Soup Co., No. CV 17-1082, 2017 WL 3534991, *7 (C.D. Cal. Aug. 9, 2017), which quotes Hadley and cites Punian.
                                                                  -22-
                                                                                     Pltf.’s Mem. of P&A in Opp. to Def. Ninestar
                                                                                            Technology Co. Ltd.’s Mtn. To Dismiss
Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 32 of 35 Page ID #:862




1    designed to guard, in part, against the use of market power to block competition or gain unfair
2    competitive advantage. See, e.g., United States v. Grinnell Corp., 384 U.S. 563, 570-71 (1966). As
3    alleged, Ninestar’s conduct allows it to exert increasing dominance over third-party ink and toner sales
4    on Amazon, capturing a larger and larger proportion of those sales based on a “feedback loop” that
5    elevates its own product listings and relegates the listings of others. Ninestar unfairly leverages this in a
6    way that both violates the policy or spirit of the antitrust laws and also threatens or harms competition
7    generally, preventing honest competitors from succeeding in the market. Compl. at, e.g., ¶¶ 36 (conduct
8    results in “unfair advantages over honest sellers”); 74 (straw-seller conduct provides “unfair advantage
9    to Ninestar at the expense of honest sellers like Plaintiff.”); 196-201 (Amazon seller rules designed to
10   “secure a fair playing field for honest competition”). See also id. at ¶¶ 206-209. ML Products further
11   alleges that the FTC considers the use of false reviews to be “unfair” and harmful to competition. Compl.
12   ¶¶ 194-195, 202 (recounting FTC actions and warnings concerning false product reviews). This is
13   consistent with consideration of “administrative guidelines developed by the [FTC]” in making
14   “nuanced and qualitative” judgments about business practices under the UCL unfair prong. Nationwide
15   Biweekly Admin., Inc. v. Superior Court, 9 Cal. 5th 279, 304 (2020). Plaintiff states an unfair prong
16   claim.
17            D.     ML Products May Seek Disgorgement and There is No Basis to “Dismiss” or
18                   “Strike” Its Claims or Allegations.
19            The UCL allows the court to make “orders or judgments… as may be necessary to prevent the
20   use or employment by any person of any practice which constitutes unfair competition… or as may be
21   necessary to restore to any person in interest any money or property, real or personal, which may have
22   been acquired by means of such unfair competition.” Cal. Bus. & Prof. Code § 17203. ML Products
23   seeks injunctive relief to prevent future violations of the UCL and FAL as well as a disgorgement of
24   profits "to perform a full restitution to Plaintiff as a consequence of Defendants’ deceptive, untrue, and
25   misleading advertising.” Compl. ¶¶ 233, 234, 240, 241. These forms of relief are available under the
26   UCL and FAL.
27            While injunctive relief is “‘the primary form of relief available under the UCL to protect
28   consumers from unfair business practices is an injunction,’” McGill v. Citibank, N.A., 2 Cal.5th 945,

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                                                                         Pltf.’s Mem. of P&A in Opp. to Def. Ninestar
                                                                                Technology Co. Ltd.’s Mtn. To Dismiss
Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 33 of 35 Page ID #:863




1    954 (2017), quoting In re Tobacco II Cases, 46 Cal. 4th at 319, restitutionary relief “serves two purposes
2    — returning to the plaintiff monies in which he or she has an interest and deterring the offender from
3    future violations.” Colgan v. Leatherman Tool Grp., Inc., 135 Cal. App. 4th 663, 695, (2006), as
4    modified on denial of reh'g (Jan. 31, 2006). The Ninth Circuit has explained “[r]estitution in the UCL
5    context, [] includes restoring money or property that was not necessarily in the plaintiff's possession.”
6    Lozano v. AT & T Wireless Services, Inc., 504 F.3d 718, 733 (9th Cir. 2007). It acknowledges that “[t]he
7    California Supreme Court has stated that the concept of restoration or restitution, as used in the UCL, is
8    not limited only to the return of money or property that was once in the possession of that person. Instead,
9    restitution is broad enough to allow a plaintiff to recover money or property in which he or she has a
10   vested interest.” Id., citing Korea Supply Co. v. Lockheed Martin Corp., 29 Cal.4th 1134, 1149 (2003).
11   ML Products seeks restitution in the form of disgorgement: “Defendants have wrongfully taken
12   Plaintiff’s profits and his substantial investment of time, energy, and money” therefore “Defendants
13   should [] disgorge all profits from the above conduct and further should be ordered to perform full
14   restitution.” Compl. ¶¶ 234, 241. This is an available remedy.
15           Even if the Court were to determine that one or more of the remedies ML Products seeks are
16   unavailable under the law, 17 Ninestar provides no authority holding—or even suggesting—that this is
17   an appropriate basis on which to dismiss a claim. See Andrus ex rel. Andrus v. Arkansas, 197 F.3d 953,
18   955 (8th Cir. 1999) (“as a general rule, requesting incorrect relief is not grounds for dismissal.”). As
19   there is, in any event, no dispute that Plaintiff may seek restitution under the UCL and FAL, Ninestar’s
20   request to strike the entirety of Complaint Paragraphs 234 and 241 is overbroad and unnecessary.
21           IV.      The Court Should Allow Plaintiff Leave to Amend to Cure any Deficiencies.
22           If the Court judges any aspect of Plaintiff’s Complaint deficient, Plaintiff respectfully requests
23   leave to amend to cure defect(s) and/or supplement the allegations. Foman v. Davis, 371 U.S. 178
24   (1962); Morongo Band of Mission Indians v. Rose, 893 F.2d 1074, 1079 (9th Cir. 1990).
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28   17
       There is no dispute that disgorgement of a defendant’s profits is an appropriate remedy under the Lanham Act. 15 U.S.C.
     § 1117(a). See Compl. ¶ 224.
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                                                                                   Pltf.’s Mem. of P&A in Opp. to Def. Ninestar
                                                                                          Technology Co. Ltd.’s Mtn. To Dismiss
Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 34 of 35 Page ID #:864




1                                               CONCLUSION
2           For the forgoing reasons, the Court should deny Defendant Ninestar Technology Co. Ltd.’s
3    Motion to Dismiss in its entirety or, in the alternative, grant leave for a reasonable time to amend to
4    reflect the Court’s Order.
5           Dated: April 14, 2022
                                                 Respectfully submitted,
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                                                                     Pltf.’s Mem. of P&A in Opp. to Def. Ninestar
                                                                            Technology Co. Ltd.’s Mtn. To Dismiss
Case 5:21-cv-01930-MEMF-KK Document 112 Filed 04/14/22 Page 35 of 35 Page ID #:865




                                       CERTIFICATE OF SERVICE
1
             I hereby certify that on April 14, 2022, I electronically filed the foregoing Plaintiff’s
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     Memorandum of Points & Authorities in Opposition to Defendant Ninestar Technology Co. Ltd.’s
3
     Motion to Dismiss with the Clerk of Court using the CM/ECF system, which will send notification of
4
     such filing to all counsel of record in this action.
5
6
7                                                    By: /s/ Derek Y. Brandt
8                                                           Derek Y. Brandt

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